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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. TDC-19-200
                                                *
 ERIC EOIN MARQUES,                             *
                                                *
                Defendant.                      *
                                                *
                                             *******

     UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by its attorney, Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, respectfully moves this Court for the issuance of a

Preliminary Order of Forfeiture in the above-captioned case pursuant to 18 U.S.C. § 2253 and

Rule 32.2(b) of the Federal Rules of Criminal Procedure. A proposed Preliminary Order of

Forfeiture is submitted herewith. In support thereof, the United States sets forth the following:

       1.       On April 17, 2019, a federal grand jury in the District of Maryland filed an

Indictment charging Eric Eoin Marques (the “Defendant”) with Conspiracy to Advertise Child

Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count One), Conspiracy to Distribute

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1) (Count Two), Advertising

Child Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count Three), and Distribution of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) (Count Four). ECF No. 29.

       2.       The Indictment also included a forfeiture allegation, pursuant to 18 U.S.C. § 2253

and 21 U.S.C. § 853(p), which provided notice that the United States intended to seek the

forfeiture, upon conviction of the Defendant, of the offenses alleged in Counts One through Four

of the Indictment.




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       3.       On or about February 6, 2020, the Defendant pled guilty to the offense alleged in

Count One of the Indictment and without limitation on the Government’s right to forfeit all

property subject to forfeiture as permitted by law, agreed to forfeit to the United States all right,

title and interest in the following items that the Defendant agreed constitute money, property,

and/or assets derived from or obtained by the Defendant as a result of, or used to facilitate the

commission of, the Defendant’s offenses:

                (a) $154,422.61 in U.S. currency in the form of a money judgment, with credit
                    given for the funds administratively forfeited by the FBI on or about March
                    13, 2015 (Asset IDs 13-FBI-006178 and 13-FBI-006179); and

                (b) any and all electronic devices containing child pornography recovered during
                    Irish law enforcement’s execution of search warrants on July 29, 2013 from
                    the Defendant’s residence, the Defendant’s vehicle or the Defendant’s
                    mother’s residence.

       4.       In support of his guilty plea, the Defendant executed a Stipulation of Facts in

which the Defendant admitted that he conspired to advertise child exploitation materials

(“CEM”) with various site administrators and users who hosted and used CEM websites through

Freedom Hosting, an anonymous hosting service the Defendant controlled. The Defendant

stated his business had been very successful and he earned a substantial amount of money from

his endeavors. As part of his plea agreement, the Defendant agreed to forfeit $154,422.61,

which represents the value of the property derived from his offense.

       5.       Pursuant to 18 U.S.C. § 2253, and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a forfeiture money judgment in the

amount of $154,422.61 in U.S. currency against the Defendant, with credit given for the funds

administratively forfeited by the FBI on or about March 13, 2015 (Asset IDs 13-FBI-006178 and

13-FBI-006179).




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       6.       Further, the United States may move at any time, pursuant to Rule 32.2(e)(1)(B)

of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(p), to forfeit any property of the

defendant up to the value of the forfeiture money judgment included in the Preliminary Order of

Forfeiture. Upon issuance of any order forfeiting specific property, the United States will

publish notice in accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules

of Criminal Procedure.

       7.       The United States also seeks permission to conduct any discovery that might be

necessary to identify, locate, or dispose of forfeited property, pursuant to Rule 32.2(b)(3) of the

Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

       WHEREFORE, the United States requests that this Court:

       (a)      enter the Preliminary Order of Forfeiture in the form submitted herewith;

       (b)      include the forfeiture, as set forth in the Preliminary Order of Forfeiture, in the

oral pronouncement of the Defendant’s sentence;

       (c)      retain jurisdiction for the purpose of enforcing the forfeiture; and

       (d)      incorporate the Preliminary Order of Forfeiture in the criminal judgment entered

against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).



                                                       Respectfully submitted,

                                                       Jonathan F. Lenzner
                                                       Acting United States Attorney

                                               By:     /s/
                                                       Thomas M. Sullivan
                                                       Assistant United States Attorney




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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion for Preliminary Order of Forfeiture, as well as
the proposed Preliminary Order of Forfeiture, were filed through the Electronic Case Filing
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                                      /s/
                                                      Thomas M. Sullivan
                                                      Assistant United States Attorney




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